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                    UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


   “Baby L.,” a minor, et al.,

                  Plaintiffs,
                                                                Civil Action No. 3:20-cv-9
   v.

   Dr. MARK ESPER, in his official capacity as
         Secretary for the U.S. Department of Defense
         et al.,

                  Defendants.


                                   PLAINTIFFS’ NOTICE

          Pursuant to the Court’s Order of October 27, 2022, Plaintiffs hereby give notice that

  Plaintiffs’ September 14, 2022 Memorandum styled “Plaintiffs Preliminary Memorandum in

  Opposition of Defendants’ Motion to Modify Pseudonym and Sealing Orders to Allow Sharing

  of Information with Other Courts” with Plaintiffs’ proposed redactions, in their view, need not

  be filed under seal. Counsel for Plaintiffs have conferred with counsel for Defendants, and

  Defendants have submitted their own proposed redactions for anything in Plaintiffs’

  Memorandum that, in Defendants’ view, requires redaction.

  November 4, 2022                               Respectfully submitted,



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